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                         IN THE UNITED STATED DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
        Plaintiff,                    §             Case No: 2:15-cv-01877-JRG-RSP
                                      §
  vs.                                 §             LEAD CASE
                                      §
  AMERICAN HONDA MOTOR CO.,           §
  INC.                                §
                                      §
        Defendant.                    §
  ___________________________________ §
  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
        Plaintiff,                    §             Case No: 2:15-cv-01573-JRG-RSP
                                      §
  vs.                                 §             CONSOLIDATED CASE
                                      §
  SMARTLABS, INC. d/b/a INSTEON       §
                                      §
        Defendant.                    §
 .___________________________________ §


                       ORDER OF DISMISSAL WITHOUT PREJUDICE

         On this date, the Court considered Plaintiff Rothschild Connected Devices Innovations,

  LLC’s motion to dismiss without prejudice Defendant Smartlabs, Inc. d/b/a Insteon pursuant to

  Fed. R. Civ. P. 41(a)(1)(A)(ii).

         Therefore, IT IS ORDERED that Plaintiff’s claims against Defendants are dismissed

  without prejudice.

  SO ORDERED
        SIGNED this 3rd day of January, 2012.
          SIGNED this 10th day of June, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
